

People v Morales (2021 NY Slip Op 05099)





People v Morales


2021 NY Slip Op 05099


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Pitt, JJ. 


Ind No. 99075/15 99075/15 Appeal No. 14203 Case No. 2018-1641 

[*1]The People of the State of New York, Respondent,
vMarc Morales, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Robin Richardson of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Joshua P. Weiss of counsel), for respondent.



Order, Supreme Court, Bronx County (Efrain Alvarado, J.), entered on or about July 8, 2016, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (C0rrection Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). Defendant's proffered mitigating factors, including his family support system and educational plans, were adequately taken into account by the guidelines. Further, defendant has not shown that these circumstances actually reduced his particular risk of reoffense (see People v Holmes, 195 AD3d 528 [1st Dept 2021]). Defendant has also not demonstrated that his response to therapy was exceptional (see People v Camacho, 195 AD3d 507, 507 [1st Dept 2021]). In
any event, to the extent that defendant demonstrated the existence of the claimed mitigating factors, the recency and seriousness of the offense committed against a minor weighed against granting a departure.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








